 
    

        
		
        

        
        
        
        
        

        
		
        	
		STATE ex rel. OKLAHOMA BAR ASSOCIATION v. McBRIDE



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. McBRIDE

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. McBRIDE2021 OK 13Case Number: SCBD-7034Decided: 03/29/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 13, __ P.3d __

				
FOR PUBLICATION OBA NETWORK ONLY. NOT FOR OFFICIAL PUBLICATION . 


&nbsp;


State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
Michael David McBride, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), forwarded to this Court certified copies of the Information, Supplemental Information, Probable Cause Affidavit, and Motion to Dismiss in the matter of State of Oklahoma v. Michael David McBride, CF-2020-141, in Muskogee County, Oklahoma. This felony case was dismissed and the case was refiled as Muskogee County District Court Case No. CM-2020-560. The OBA also forwarded to this Court certified copies of the Information, Probable Cause Affidavit, Acknowledgment and Waiver of Rights, and Deferment in CM-2020-560. On July 24, 2020, Respondent entered pleas of Guilty to the misdemeanor crime of Driving Under the Influence in violation of 47 O.S.2011, § 11-902(A)(2), and the misdemeanor crime of Driving with a Suspended License in violation of 47 O.S.2011, § 6-303(B). The Court deferred judgment and sentence on both matters for one year until July 24, 2021, with the counts to run concurrent to each other, during which time the Respondent was placed on probation.

¶2 In addition, the OBA provided the following notice of enhancement pursuant to RGDP 6.2: Respondent was publicly reprimanded and this Court imposed a deferred suspension of two years and one day in State of Oklahoma ex rel., Oklahoma Bar Association v. McBride, 2007 OK 91, 175 P.3d 379. The discipline was imposed following Respondent's repeated alcohol-related offenses over a period of time, evidencing Respondent's indifference to legal obligations and engaging in conduct that reflects adversely on the legal profession.

¶3 RGDP 7.3 provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, and in view of the prior conduct resulting in discipline, this Court orders that Michael David McBride is immediately suspended from the practice of law. Michael David McBride is directed to show cause, if any, no later than April 13, 2021, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until April 28, 2021, to respond.

¶4 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4, Michael David McBride has until May 13, 2021, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until May 28, 2021, to respond.

¶5 DONE BY ORDER OF THE SUPREME COURT in conference on March 29, 2021.


/S/CHIEF JUSTICE



Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Combs, Gurich and Rowe, JJ., concur.







	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2007 OK 91, 175 P.3d 379, STATE ex rel. OKLAHOMA BAR ASSOCIATION v. MCBRIDEDiscussed
Title 47. Motor Vehicles
&nbsp;CiteNameLevel

&nbsp;47 O.S. 11-902, Persons Under the Influence of Alcohol or Other Intoxicating Substance or Combination ThereofCited
&nbsp;47 O.S. 6-303, Driving While License Under Suspension or Revocation - Penalties - MotorcyclesCited


	
	








				
					
					
				

		
		




	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
